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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 07-20168-JWL
                                                  )
LATYSHA TEMPLE,                                   )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Latysha Temple was convicted following a jury trial of conspiracy to

manufacture, possess with intent to distribute, and distribute 50 grams or more of cocaine

base (“crack”) and to possess with intent to distribute and distribute 5 kilograms or more

of cocaine. Ms. Temple has now filed a Motion for Retroactive Application of the

Sentencing Guidelines pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1433). For the reasons

set forth below, that motion is denied.

1. Background

       At sentencing, the court determined Ms. Temple’s base offense level of 31 based

on quantities of cocaine hydrochloride–not “crack” cocaine. The base offense level of

31, along with a 2-level enhancement for possession of firearms under § 2D1.1(b)(1), a

2-level reduction for minor role in the offense under § 3B1.2(b), and a 2-level

enhancement for obstruction of justice under § 3C1.1, yielded a total offense level of 33.
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With a criminal history category of II, under the United States Sentencing Commission,

Guidelines Manual (2008), this subjected Ms. Temple to an advisory guideline range of

151- to 188-months imprisonment. She received a sentence of 151 months on September

25, 2009 (doc. 1043).

2. Analysis

       Section 3582 allows a court to modify a sentence “in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . consistent with the

applicable policy statement issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2). The policy statement to which § 3582(c)(2) refers is § 1B1.10 of the United

States Sentencing Guidelines. Section 1B1.10 allows a court to reduce a term of

imprisonment under § 3582(c) provided that the guideline range applicable to the

defendant was subsequently lowered by one of the specific amendments to the

Guidelines listed in § 1B1.10(c). U.S.S.G. § 1B1.10(a)(1). Section 1B1.10(a)(2)

provides that a reduction is not authorized if none of the retroactive amendments listed

in subsection (c) is applicable to the defendant.

       Ms. Temple seeks to have her sentence reduced by means of the Fair Sentencing

Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 and Amendment 750 to the United

States Sentencing Guidelines. See U.S.S.G. § 2D1.1 (2011); United States Sentencing

Commission, 76 Fed. Reg. 41,332 (July, 13, 2011) (on retroactivity). As relevant to Ms.

Temple’s motion, Amendment 750 revised the Drug Quantity Table set forth in § 2D1.1

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to reflect statutory changes in the penalties for cocaine base (“crack” cocaine) offenses.

She, however, was sentenced based on a quantity of cocaine hydrochloride, not cocaine

base. Amendment 750 does not impact the guideline range for offenses involving

cocaine hydrochloride. As a result, a reduction in the defendant’s term of imprisonment

is not consistent with the policy statement in § 1B1.10 and therefore is not authorized

under 18 U.S.C. § 3582(c)(1) because Amendment 750 does not have the effect of

lowering the defendant’s applicable guideline range. See United States v. Sharkey, 543

F.3d 1236, 1238 (10th Cir. 2008) (applying the same reasoning to Amendment 706).

       As such, Ms. Temple is ineligible for § 3582 relief.


       IT IS THEREFORE ORDERED BY THE COURT that defendant’s

Motion for Retroactive Application of the Sentencing Guidelines (doc. 1433) is

denied.


       IT IS SO ORDERED this 29th day of March, 2012.


                                    s/ John W. Lungstrum
                                    John W. Lungstrum
                                    United States District Judge




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